Case 3:06-cr-30039-RGJ-KLH   Document 138   Filed 09/07/07   Page 1 of 6 PageID #:
                                    1039
Case 3:06-cr-30039-RGJ-KLH   Document 138   Filed 09/07/07   Page 2 of 6 PageID #:
                                    1040
Case 3:06-cr-30039-RGJ-KLH   Document 138   Filed 09/07/07   Page 3 of 6 PageID #:
                                    1041
Case 3:06-cr-30039-RGJ-KLH   Document 138   Filed 09/07/07   Page 4 of 6 PageID #:
                                    1042
Case 3:06-cr-30039-RGJ-KLH   Document 138   Filed 09/07/07   Page 5 of 6 PageID #:
                                    1043
Case 3:06-cr-30039-RGJ-KLH   Document 138   Filed 09/07/07   Page 6 of 6 PageID #:
                                    1044
